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AO 91 (Rev. 11/11) Criminal Complaint


                                            UNITED STATES DISTRICT COURT
                                                                      for the
                                                            Southern District of __________
                                                         __________              Texas

                    United States of America                               )
                               v.                                          )
                   Fernando PATINO Jr.;
                                                                           )     Case No.     5:25-MJ-222
              Carlos Alberto GARCIA-Guajardo                               )                  SEALED
                                                                           )
                                                                           )
                                                                           )
                               Defendant(s)


                                                        CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 2/January 22, 2025        in the county of                Webb             in the
     Southern              District of                Texas          , the defendant(s) violated:

              Code Section                                                          Offense Description
Title 18 United States Code,                           Possession or transfer of an unregistered machinegun
Section 922(g)(o)




          This criminal complaint is based on these facts:
See Attachment A.




          ✔ Continued on the attached sheet.
          u
  Submitted by reliable electronic means, sworn to,
  signature attested telephonically per
  Fed. R. Crim. P. 4.1 and probable cause found:
                                                                                                    Complainant’s signature

                                                                                        Christopher L. Joliet II, ATF Special Agent
                                                                                                     Printed name and title

Sworn to before me and signed in my presence.


Date:            1/30/2025
                                                                                                       Judge’s signature

City and state:                                  Laredo, Texas                 'LDQD6RQJ4XLURJD , U.S. Magistrate Judge
                                                                                                      Printed name and title
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                                  5:25-MJ-222
                                  SEALED
                                      Attachment A
1. In late December 2024, the Laredo Police Department (LPD) and the Bureau of Alcohol,
   Tobacco, Firearms and Explosives (ATF) were in communication with Fernando
   PATINO Jr. who arranged to sell a Glock pistol quipped with a Machinegun Conversion
   Device (MCD), commonly referred to as a “switch”. PATINO Jr. agreed to sell the
   firearm and MCD for $1,100.

2. On or about January 2, 2025, an LPD Undercover (UC) made contact with PATINO Jr.
   and another individual identified as Carlos Alberto GARCIA-Guajardo via messenger
   application. GARCIA-Guajardo informed the LPD UC that the firearm and MCD were
   ready for him to purchase.


3. GARCIA-Guajardo instructed the LPD UC to come to an address on the 3000 block of
   Monterrey Street, Laredo, TX. 78046 to conduct the purchase. The LPD UC arrived at
   the address where he observed GARCIA-Guajardo and PATINO Jr. standing outside of
   the address. The LPD UC provided PATINO Jr. $1,100 of ATF buy money at which
   time PATINO Jr. provided the LPD UC with a Glock, model 22, .40 caliber pistol
   bearing serial number BVNL394, equipped with a Machinegun Conversion Device.


4. The LPD UC left the area, and the firearm was placed into the LPD evidence room and
   subsequently transferred into ATF custody.


5. ATF Special Agents conducted a preliminary examination of the firearm and MCD and
   found the firearm’s function and characteristics to be consistent with that of a
   machinegun, regulated under the National Firearms Act (NFA).


6. Possession or transfer of an unregistered firearm, required to be registered, under the
   National Firearms Act is a violation of 18 USC 922(o), possession or transfer of an
   unregistered machinegun.


7. In late December 2024, the Laredo Police Department (LPD) and the Bureau of Alcohol,
   Tobacco, Firearms and Explosives (ATF) were in communication with Fernando
   PATINO Jr. who arranged to sell a Glock pistol quipped with a Machinegun Conversion
   Device (MCD), commonly referred to as a “switch”. PATINO Jr. agreed to sell the
   firearm and MCD for $1,100.

8. On or about January 2, 2025, an LPD Undercover (UC) made contact with PATINO Jr.
   and another individual, identified as Carlos Alberto GARCIA-Guajardo, via messenger
   application. GARCIA-Guajardo informed the LPD UC that the firearm and MCD were
   ready for him to purchase.
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9. GARCIA-Guajardo instructed the LPD UC to come to an address on the 3000 block of
   Monterrey Street, Laredo, TX. 78046 to conduct the purchase. The LPD UC arrived at
   the address where he observed GARCIA-Guajardo and PATINO Jr. standing outside of
   the address. The LPD UC provided PATINO Jr. $1,100 of ATF buy money at which
   time PATINO Jr. provided the LPD UC with a Glock, model 22, .40 caliber pistol
   bearing serial number BVNL394, equipped with a Machinegun Conversion Device.


10. The LPD UC left the area, and the firearm was placed into the LPD evidence room and
    subsequently transferred into ATF custody.


11. ATF Special Agents conducted a preliminary examination of the firearm and MCD and
    found the firearm’s function and characteristics to be consistent with that of a
    machinegun, regulated under the National Firearms Act (NFA).


12. Possession or transfer of an unregistered firearm, required to be registered, under the
    National Firearms Act is a violation of 18 USC 922(o), possession or transfer of an
    unregistered machinegun.


13. In January 2024, the Laredo Police Department (LPD) and the Bureau of Alcohol,
    Tobacco, Firearms and Explosives (ATF) were in communication with Carlos Alberto
    GARCIA-Guajardo who arranged to sell a Glock pistol quipped with a Machinegun
    Conversion Device (MCD), commonly referred to as a “switch”. GARCIA-Guajardo
    agreed to sell the firearm and MCD for $1,200.

14. On or about January 22, 2025, an LPD Undercover (UC) made contact with GARCIA-
    Guajardo and another individual identified as Fernando PATINO Jr. via messenger
    application regarding the purchase of the firearm. PATINO Jr. called the LPD UC and
    instructed him to go to an address on the 3000 block of Monterrey Street, Laredo, TX
    78046.


15. The LPD UC arrived at the address on the 3000 block of Monterrey Street, Laredo, TX.
    78046 to conduct the purchase. Upon arrival, the LPD UC observed PATINO Jr. waiting
    outside of the residence. PATINO Jr. greeted the LPD UC and then PATINO Jr. went to
    the rear of the residence and returned with GARCIA-Guajardo, who was in possession of
    a Glock, model 22, .40 caliber pistol bearing serial number BBXD668, equipped with a
    Machinegun Conversion Device. GARCIA-Guajardo provided the LPD UC with the
    firearm and the LPD UC provided GARCIA-Guajardo $1,200 of ATF buy money for the
    firearm.


16. The LPD UC left the area, and the firearm was placed into the LPD evidence room and
    subsequently transferred into ATF custody.
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17. ATF Special Agents conducted a preliminary examination of the firearm and MCD and
    found the firearm’s function and characteristics to be consistent with that of a
    machinegun, regulated under the National Firearms Act (NFA).


18. Possession or transfer of an unregistered firearm, required to be registered, under the
    National Firearms Act is a violation of 18 USC 922(o), possession or transfer of an
    unregistered machinegun.
